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UNITED STATES OF AMER|CA

_v. o4-10074-02-T

 

CL|NT W. WALLACE
M. Dianne Smothers FPD
Defense Attorney
109 S. High|and Avenue, Ste. B-8
Jackson, TN 38301

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 22, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following

 

offense(s):
Date Offense Count
Tiue & section N==\fu_reMs_e Concluded Numberis)
21 U.S.C. § 846 Conspiracy to Distribute 05/18/2004 1

|V|ethamphetamine

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Restitution Act of 1996

Count(s) 2 dismissed on the motion of the United States.
|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines1 restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 04/1 611 968 June 14, 2005
Deft’s U.S. Nlarsha| No.: 19905-076

Defendant’s |V|ailing Address:
637 Lower Brownsvi||e Road

Jackson, TN 3830'| QWW
S

JAME TODD
CH|EF lTED STATES DlSTR|CT JUDGE
This document entered on the docket sheet in compliance

with ama 55 and/or 32(b) mch on la j §§ l j (’ 15 June__&. 2005

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Case No: 1:04cr10074-02-T Defendant Name: Clint W. Wa||ace Page 2 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 27 Months as to Count 1 of the indictmentl

The Court recommends to the Bureau of Prisons: institution where defendant can
receive long-term drug treatment and an institution as close to defendant’s home as
possible

The defendant shall surrender for service of sentence at the institution designated by the
Bureau oansons

RETURN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UNITED STATES i\/|ARSHAL
By:

 

Deputy U.S. l\/larshai

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Case No: 1:04cr10074-02~T Defendant Name: Clint W. Wallace Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years as to Count 1 of the |ndictment.

The defendant shall report to the probation office in the district to Which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal1 state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthfui and complete written report within the first five days of each month;

3. The defendant shall answer truthful a|| inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

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8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notiHcation requirement.

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program of testing and treatment for
substance abuse as directed by the U. S. Probation Office.

2. The defendant shall cooperate in the collection of DNA as directed by the U. S. Probation
Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
With the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 16 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00

The Specia| Assessment shall be due immediate|y.

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FINE
No fine imposed.
REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 1:04-CR-10074 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highiand Ave.

Ste. B-S

Jaci<Son7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highiand Ave.
Jaci<Son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

